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                                                             UNITED STATES DISTRICT COURT
                                                            CENTRAL DISTRICT OF CALIFORNIA

     UNITED STATES OF AMERICA,                                                      Western Division
                                                                       Plaintiff,
                                       vs.                                          Case Number: 2:19-MJ-03937-1                 Complaint &Warrant
                                                                                    Initial App. Date: 09/19/2019                Custody
     Edward Ruck                                                                    Initial App. Time: 2:00 PM




                                                                    Defendant.      Date Filed: 09/18/2019                     /
                                                                                    Violation: 21USC841 a 1        b 1        S(/J                          /
                                                                                    CourtSmart/ Reporter:                       ~

           PROCEEDINGS HELD BEFORE UNITED STATES                                                       CALENDAR/PROCEEDINGS SHEET
               MAGISTRATE JUDGE: Patrick J. Walsh                                                       LOCAL/OUT-OF-DISTRICT CASE



     PRESENT:                    Martinez, Isabel                                                                                     None

                                         Deputy Clerk                             Assistant U.S. Attorney                        Interpreter/Language
              C           'IAL APPEARANCE NOT HELD -CONTINUED
                     Defe nt informed of charge and right to: remain silent; appointment of counsel, if indigent; right to bail; bail review and
                          preliminary hearing OR O removal hearing /Rule 20.
                       efendant states true name C7 is as charged 7 is
               ~-' ` Court'ORDERS the caption of the Indictment/Information be changed to reflect defendant's different true name. Counsel are directed
              .~         ile all future documents reflecting the     name as stated on the record.
             ~   ~ ~fendant advised of consequences of se statement in financial affidavit " ~ Financial Affidavit ordered SEALED.
                     Attorney: Claire Simonich,DFPD ~ Appointed ~ Prev. Appointed ~                    s. Contribution (see separate        ~~
                  ~ ~f' 'Special appearance by:                           ~
             ~'GovernmenYs request for detention is: O GRANTED t7 DENIED v WITHDRAWN                                   CONTINUED
             ~ Defendant is ordered: O Permanently Detained 'Y; Temporarily Detained (see separate order).
             L
              i~ BAIL FIXED AT $                                             (SEE ATTACHED COPY OF CR-1 BOND FORM FOR CONDITIONS)
                     Government moves to iJNSEAL Complaint/Indictment/Information/Entire Case: f~ GRANTED ~ DENIED
             `T Preliminary Hearing waived.
              _~~ Class B Misdemeanor ~ Defendant is advised of maximum penalties
                     This case is assigned to Magistrate Judge                                                   .Counsel are directed to contact the clerk for
                     the setting of all further proceedings.
             i~ PO/PSA WARRANT ~ Counsel are directed to contact the clerk for
                     D~i ct Judge                                                                for the setting of further proceedings.
             ~5~~e~mary Heari g set for                       ~      —              at 4:30 PM
              ~. PIA set for:                   —                   at 11:00 AM in L~:00 AM in Riverside; at 10:00 AM in Santa Ana
             P.'9 Government's motion to dismiss case/defendant                                                    only: ~~ GRANTED ~~; DENIED
             L~ Defendant's motion to dismiss for lack of probable cause: ~! GRANTED ~ DENIED
             r7 Defendant executed Waiver of Rights. ~ Process received.
                   + Court ORDERS defendant Held to Answer to                                     District of
                      L! Bond to transfer, if bail is posted. Defendant to report on or before
                      L~ Warrant of removal and final commitment to issue. Date issued:                                  By CRD:
                      ~~~rrant of removal and fin o_m'              tare ordered stayed until
             t~r~~~se continued to(Da )                                               (Tim                                      AM / ~_
                     Type Hearing:                                       efore udge                                           /Duty Ma i trate Judge.
                         ceedings will be held in the D Duty C rtroom                                  ~~     ge's Coumoom
                     Defendant committed to the custody of the U.S. Marshal .`:~ Summons: Defendant ordered to report to U M for processing.
             ~t Abstract of Court Proceeding (CR-53)issued. Copy forwarded to USM.
             `mil Abstyact of Order to Return Defendant to Court on Next Court Day (M-20)issued. Original forwarded to USM.                      _           _ ,



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        MJ (lU/l3)                               CALENDAR/PROCEEDING SREET -LOCAL/OUT-OF-DISTRICT CASE                                               Page I of 1
